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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                    )
                                             )
                                             )
     v.                                      ) Criminal No. 19 Cr 490 (RMB)
                                             )
JEFFREY EPSTEIN,                             )
           Defendant

                                Order For Admission Pro Hac Vice

         The motion of Martin G. Weinberg, for admission to practice Pro Hac Vice in the above

captioned matter, is granted.

         Applicant has declared he is a member in good standing of the bar of the Commonwealth

of Massachusetts and his contact information is as follows:

         Martin G. Weinberg, Esq.
         Martin G. Weinberg, P.C.
         20 Park Plaza, Suite 1000
         Boston, MA 02116
         Telephone: (617) 227-3700
         Facsimile: (617) 338-9538
         owlmgw@att.net

         Applicant having requested admission Pro Hac Vice to appear as co- counsel for Jeffrey

Epstein in the above-captioned matter;

         IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above-captioned matter in the United States District Court for the Southern District of New

York. All attorneys appearing before this Court are subject to the Local Rules of this Court,

including the rules governing discipline of attorneys.



Dated:                                               Richard M. Berman
                                                     United States District Court Judge
